Case 1:04-cv-01344-.]DT-STA Document 33 Filed 04/21/05 Page 1 of 2 Page|D 29

 

Unitcd States District Court o m
WESTERN DISTRICT oF TENNESSEE 233 ‘;‘,._; §§
Eastem Division 9919999 ’° §§
§__{f__`_r..,- N
se a 99
JUDGMENT IN A CIVIL CASE §§g§ ._._. ._;;,
NAT BARKLEY as Next Friend of 930 "°'
Hadie Alsup, an incapacitated person,

VS.

KINDRED HEALTHCARE, INC.;
ET AL.,

CASE NUMBER: 1:04-1344-T/An

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.

|T tS ORDERED AND ADJUDGED that in compliance with the order entered in
the above-styled

matter on 4/20/2005, this action is hereby REMANDED to the Circuit
Court of Hardeman County, Tennessee

at Boliver. The Court is also deferring ruling on
P|aintiff‘s Motion for Reconsideration and/or Appeal, and Objections to Magistrate
Judge's Order Denying in Part P|aintift‘s Nlotion

for Leave of Court to Amend First
Amended Complaint to the State Court.

APPROVED:
JA S D. ToDD
UN

 

ED STATES DISTRICT JUDGE

ROBERT R. Di TROLIO

 

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This document entered on the docket sheet in compliance

with Ru|e 58 andfor 79(a} FRCP on pl 5 § .

 

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This notice confirms a copy of the document docketed as number 33 in
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Honorable J ames Todd
US DISTRICT COURT

